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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

NAVY SEALS 1-26, et al.,
                              Plaintiffs,
       v.                                                  Case No. 4:21-cv-01236-O
JOSEPH R. BIDEN, JR., in his official capacity as
President of the United States, et al.,
                              Defendants.



                                    PROTECTIVE ORDER

       Before the Court are Plaintiffs’ Motion for Protective Order (the “Motion”) (ECF No. 26),

filed December 1, 2021, and Defendants’ Response (ECF No. 30), filed December 2, 2021. The

Plaintiffs represented to the Court that Defendants opposed the Motion. See Certificate of

Conference 7, ECF No. 26. However, Defendants claim that they agreed to a protective order as

long as their counsel could receive the names of all 35 SEALs and Special Warfare Plaintiffs.

Defs.’ Resp. 1, ECF No. 30. Defendants allege that they will need until December 16, 2021 to

investigate and decide whether to oppose Plaintiffs’ Motion. Id. at 3.

       Plaintiffs concede that they “do not object to disclosing their identit[ies] to the Court, and

to Defendants’ counsel, to allow them to investigate the claims, prepare a defense, and to propound

discovery, if necessary, provided that such disclosure is subject to adequate protection to prevent

disclosure of Plaintiffs’ identities.” Mot. 1–2, ECF No. 26.

       Because the parties appear to agree regarding disclosure to Defendants’ counsel, the Court

hereby ORDERS that Plaintiff will forthwith provide Defense counsel the identities and addresses

of the Pseudonym Plaintiffs along with any documents that have been filed under seal in this matter




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to undersigned defense counsel of record. The parties are directed to meet and confer to provide

the Court a proposed protective order governing the use of this information by Defendants.1

        IT SO ORDERED, this 2nd day of December, 2021.



                                                              _____________________________________
                                                              Reed O’Connor
                                                              UNITED STATES DISTRICT JUDGE




1
 Defendants also seek an extension of time to December 16, 2021, to respond to Plaintiffs’ Motion for
Protective Order. Instead of an extension, Defendants can move to reconsider this Order if and when they
determines additional relief is necessary.
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